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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                                    ORLANDO DIVISION


UNITED STATES OF AMERICA

v.                                                                                             Case No. 6:07-cr-107-Orl-28GJK

RICARDO ORTIZ

 JUDGE:                            John Antoon II                   COUNSEL FOR GOVT:                 Bruce S. Ambrose

 DEPUTY CLERK:                     Darleen Darley                   COUNSEL FOR DEFT(S):              Ismael Solis, Jr.

 COURT REPORTER:                   Anthony Rolland                  PRETRIAL/PROBATION:               David Salce

 DATE/TIME:                        May 29, 2008                     INTERPRETER:                      Etienne
                                   1:30-2:05 p.m.                                                     VanHissenhoven/Spanish


                                  CLERK’S MINUTES ON CRIMINAL SENTENCING

Defendant is adjudged guilty on Count One of the First Superseding Information.
Motion for Court to recognize defendant’s substantial assistance (Doc. No. 829)     Granted.
IMPRISONMENT:         96 Months. This sentence shall run consecutive with the sentence imposed in Criminal Case No. 6:07-cr-149-
Orl-28KRS.
Court Recommends:      That defendant be confined at FCI Coleman, Florida and participate in the 500 hour drug rehabilitation
program.
Supervised Release:    5 years.
MANDATORY DRUG TESTING requirements are: Imposed.
Special Conditions of Supervised Release are:
        Participate in a program for treatment of narcotic addiction or drug or alcohol dependency.
        Community Service Program:       Perform 150 hours in lieu of paying a fine.
        Cooperate in the collection of DNA, as directed by the Probation Officer.
Original Indictment is dismissed on the Motion of the U.S. Attorney’s Office.
Fine and costs of imprisonment/supervision:     Waived.
Special Assessment:    $100.00.
Defendant is remanded to the custody of the U.S. Marshal.
Additional remarks:   Defendant is advised of right to appeal.
